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Case: 3:20-mj-00069-MJN Doc #: 1 Filed: 02/12/20 Page: 2 of 13 PAGEID #: 2
Case: 3:20-mj-00069-MJN Doc #: 1 Filed: 02/12/20 Page: 3 of 13 PAGEID #: 3
Case: 3:20-mj-00069-MJN Doc #: 1 Filed: 02/12/20 Page: 4 of 13 PAGEID #: 4
Case: 3:20-mj-00069-MJN Doc #: 1 Filed: 02/12/20 Page: 5 of 13 PAGEID #: 5
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